






Opinion issued August 21, 2008  








	










In The

Court of Appeals

For The

First District of Texas






NO. 01-05-00780-CR

____________


VICTOR RANDOLPH TURNER, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 268th District Court

Fort Bend County, Texas

Trial Court Cause No. 40,639A






MEMORANDUM OPINION

	Appellant, Victor Randolph Turner, pleaded guilty, without an agreed
punishment recommendation from the State, to the offense of evading arrest with a
vehicle. (1)  Appellant also pleaded true to an enhancement for a prior evading arrest
conviction.  Punishment was tried to the jury, which assessed punishment at 10 years'
confinement.  Appellant filed a notice of appeal, and the trial court certified
appellant's right to appeal the punishment only.

	Appellant's counsel on appeal has filed a brief stating that the record presents
no reversible error and that the appeal is without merit and is frivolous.  See Anders
v. California, 386 U.S. 738, 744, 87 S. Ct. 1396, 1400 (1967).  The brief meets the
requirements of Anders by presenting a professional evaluation of the record and
detailing why there are no arguable grounds for reversal.  Id.; see also High v. State,
573 S.W.2d 807, 810 (Tex. Crim. App. [Panel Op.] 1978).  The brief also reflects that
counsel delivered a copy of the brief to appellant.  See Stafford v. State, 813 S.W.2d
503, 510 (Tex. Crim. App. 1991).  Counsel also informed appellant of his right to file
a pro se response, which appellant has done. 

	In his pro se response, appellant contends that the his constitutional protection
against double jeopardy was violated.  Having reviewed the record, counsel's brief,
and appellant's pro se brief, we agree that the appeal is frivolous and without merit
and that there is no reversible error.  See Bledsoe v. State, 178 S.W.3d 824, 826-27
(Tex. Crim. App. 2005).  

	We affirm the judgment of the trial court.  We grant counsel's motion to
withdraw.  See Stephens v. State, 35 S.W.3d 770, 771 (Tex. App.--Houston [1st
Dist.] 2000, no pet.). (2)  We overrule all pending motions.





							Sherry Radack

							Chief Justice


Panel consists of Chief Justice Radack, and Justices Taft and Higley.


Do not publish.  Tex. R. App. P. 47.2(b). 
1. 	See Tex. Penal Code Ann. § 38.04(b)(2)(A) (Vernon 2003).
2. 	Appointed counsel still has a duty to inform appellant of the result of this appeal and
that he may, on his own, pursue discretionary review in the Texas Court of Criminal
Appeals.  See Bledsoe v. State, 178 S.W.3d 824, 827 (Tex. Crim. App. 2005); Downs
v. State, 137 S.W.3d 837, 842 n.2 (Tex. App.--Houston [1st Dist.] 2004, pet. ref'd).


